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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

 

- V. -~

SEALED INDICTMENT

 

MICHAEL MENDLOWITZ,
a/k/a “Moshe Mendlowitz,” : 17 Cr.
RICHARD D. HART,

a/k/a “Rick Hart," 17 CRIM 9 48 7

Defendants.

|

COUNT ONE
(Conspiracy to Commit Mail Fraud and Wire Fraud)

The Grand Jury charges:
OVERVIEW OF THE FRAUD SCHEME

1. From at least in or about 2009 through at least in or
about July 2015, Commerce Payment Systems did business as a
payment card processor for its merchant-customers, who were
merchants and small businesses that accepted credit cards and
debit cards from consumers. Commerce Payment Systems’
Management and employees operated under a variety of corporate
names, including “Commerce Payment Systems,” “Commerce Payment
Group,” “Merchant Commerce,” “Empire Payments,” “Evolution
Bankcard,” and “Optimal Bankcard” (collectively referred to
herein as “CPS”).

2. From at least in or about 2010, through at least in or

about July 2015, MICHAEL MENDLOWITZ, a/k/a “Moshe Mendlowitz,”
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and RICHARD D. HART, a/k/a “Rick Hart,” the defendants,
orchestrated and participated in a scheme to defraud the
merchant-customers of CPS. In the course of the scheme,
MENDLOWITZ and HART used false and deceptive statements to
market and sell CPS's services as a payment card processor.
Specifically, the fees and other charges that CPS collected from
its merchant-customers for providing CPS’s payment card
processing services far exceeded what CPS represented to its
merchant-customers in CPS’s marketing materials, sales calis,
and written agreements. In addition, MENDLOWITZ further
concealed these overcharges from CPS’s merchant-customers, and,
when such merchant-customers called to complain, caused the
employees of CPS to continue to make false statements to such
merchant-customers.
Background

3. Merchants who accept major brands of credit cards and
debit cards typically use the services of payment card
processors. A payment card processer acts as an intermediary
between the merchant, the merchant’s bank, the cardholder's
bank, and “Card Associations,” such as Visa, MasterCard, and
Discover, to assist in processing the sales proceeds, and to
ensure that the merchant receives payment for a credit or debit

card purchase by a consumer.. As part of this process, a
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merchant typically enters into an agreement or contract with a
payment card processor, pursuant to which the merchant agrees to
pay various fees to the payment card processor in exchange for
the processor’s services.

4. Fees that payment card processors charge their
merchant-customers are calculated in various ways. For example,
such fees may be calculated as a percentage of a sales
transaction, as a “per item” or “per transaction” fee, or asa
regularly recurring monthly or annual fee.

CPS Operations

5. At all times relevant to this Indictment, the majority
owner of CPS was a large payment processing company (the “Parent
Company”), while a minority of CPS was owned by MICHAEL
MENDLOWITZ, a/k/a “Moshe Mendlowitz,” the defendant.

6. Beginning in or about April 2009, MICHAEL MENDLOWITZ,
a/k/a “Moshe Mendlowitz,” the defendant, on behalf of Commerce
Payment Group, entered into a series of written agreements with
the Parent Company, governing the operations of CPS and its
relationship with the Parent Company, as well as the processing
of funds.

7. At all times relevant to this Indictment, pursuant to
agreements between the Parent Company and Commerce Payment

Group, CPS performed various business functions in accordance

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with procedures established by the Parent Company, while using
software, computer systems, and other systems provided by the
Parent Company. CPS performed such functions as marketing and
sales, obtaining signed service agreements (called “Merchant
Applications”) with new merchant-customers, and thereafter
inputting the relevant information about new merchant-customers
and Merchant Applications into computerized systems used by the
Parent Company to process payments and fees.

8. After CPS approved the Merchant Application of a new
merchant-customer, certain CPS employees were responsible for
entering the new merchant-customer’s billing information into
computer systems used by the Parent Company. Such information
included details about the fees that a particular merchant-
customer would be charged. These computer systems generated
such charges regardless of what was in the customer’s signed
Merchant Application, and regardless of what the customer had
been told during sales calls.

9. Once a merchant-customer began using the services of
CPS, the Parent Company performed such functions as routing the
funds generated by the sales made in the merchant-customer’s
store or business, minus the fees retained by the Card
Associations and the bank that had issued the credit card or

payment card to the cardholder-shopper. The Parent Company
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thereafter credited CPS’s fees to CPS, based upon information
that CPS had inputted into the computer systems of the Parent
Company, and caused the remaining net sales proceeds to be
forwarded to CPS’s merchant-customer, from bank accounts in the
Southern District of New York. In sum, this meant that for any
given transaction, the amount of money sent to a merchant-
customer was reduced by the fees retained by the CPS, the Parent
Company, and other entities.

10. After CPS’s merchant-customers received these net
proceeds, CPS also caused additional fees to be collected from
its merchant-customers. These additional fees included various
monthly and annual fees, among others.

112. In or about 2013, CPS received over $9.9 million from
more than 12,000 merchant-customers. In or about 2014, CPS
received over $13.5 million from more than 11,500 meéerchant-
customers. In or about the first half of 2015, CPS received
more than $6.6 million from its merchant-customers.

The Defendants

12. At all times relevant to this Indictment, MICHAEL
MENDLOWITZ, a/k/a “Moshe Mendlowitz,” the defendant, was the
president and chief executive officer of CPS, as well as the
owner of a minority share of CPS. In his capacity as president

and chief executive officer of CPS, MENDLOWITZ supervised and
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oversaw all CPS departments and operations. Among other things,
MENDLOWITZ was closely involved in preparing false and
fraudulent marketing materials and websites, causing sales staff
to be provided with false and fraudulent written scripts of
sales pitches, setting fee and charge schedules, designing and
preparing customer agreements, directing employees on how much
to charge merchant-customers - including ways to fraudulently
overcharge such merchant-customers - directing employees on how
to handle complaints from merchant-customers, and interacting
with and deceiving the Parent Company. MENDLOWITZ also directed
the creation of a website called bestpaymentprocessors.com,
which purported to be an independent website that evaluated and
compared payment card processors, but in truth and in fact was
owned by MENDLOWITZ and used to promote CPS.

13. RICHARD D. HART, a/k/a “Rick Hart,” the defendant, was
employed at CPS from in or about November 2011 through in or
about February 2015. For most of that time, HART was the
supervisor of the majority of CPS’s sales representatives, and
held himself out at times as an executive of CPS and its various
corporate affiliates. For example, at various times HART held
himself out as the “Vice President of Sales,” as well as the
president of Empire Payments, the president of Evolution

Bankcard, and the president of Optimal Bankcard.
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14. In his capacity as a supervisor of CPS’s sales staff,
RICHARD D. HART, a/k/a “Rick Hart,” the defendant, among other
things, developed and wrote false and fraudulent scripts and
training materials to be used by sales representatives and
instructed sales representatives to make specific
misrepresentations to potential merchant-customers about
particular fees and other terms of service. HART also prepared
marketing materials, including fraudulent “cost comparison
calculators” that purported to compare the rates that merchants
were paying with other credit card processing companies with
rates that the merchants would be charged by CPS. In truth and
in fact, however, these cost comparison calculators were
designed to deceive potential merchant-customers by concealing
fees that they ultimately would be charged by CPS. HART also
participated in fraudulent sales calls, and distributed
recordings of those calls to sales representatives, as
instructional models on how to conduct sales calls with
potential merchant-customers. HART also assisted in creating
websites for CPS corporate affiliates, as well as in making
changes and additions to the bestpaymentprocessors.com website.

MEANS AND METHODS OF THE CONSPIRACY

 

15. MICHAEL MENDLOWITZ, a/k/a “Moshe Mendlowitz,” and

RICHARD D. HART, a/k/a “Rick Hart,” the defendants, carried out
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their scheme through means and methods that included false
marketing, misrepresentations by CPS’s sales staff to potential
merchant-customers, and misrepresentations to merchant-customers
when the merchant-customers called to complain about overcharges.
In addition, MENDLOWITZ made false statements to representatives
of the Parent Company and directed CPS employees to impose
additional improper undisclosed fees.
False Marketing

16. In furtherance of the scheme, MICHAEL MENDLOWITZ,
a/k/a “Moshe Mendlowitz,” and RICHARD D. HART, a/k/a “Rick
Hart,” the defendants, caused CPS to include false and
misleading statements on the websites and marketing brochures of
CPS and its corporate affiliates. For example, these websites
and brochures:

a. advertised fees that were far below the fees that
merchant-customers would actually be charged, and added the
false claim that there were “no hidden fees,” when in truth and
in fact, CPS charged its merchant-customers a variety of hidden
fees;
b. falsely stated the number of customers that the

various CPS corporate affiliates had, and the number of years

that those affiliates had been in business;
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c. listed a variety of entities that were falsely
described as customers of CPS; and
d. provided written and video testimonials from
purportedly satisfied merchant-customers, when in truth and in
fact, many of the persons featured in those testimonials:
i. did not exist or were not CPS customers; or
ii, were privileged associates and family of
MENDLOWITZ who did not pay most of the
undisclosed fees that CPS charged to the rest
of its customers.

17. Through CPS’s marketing and sales activities, MICHAEL
MENDLOWITZ, a/k/a “Moshe Mendlowitz,” and RICHARD D. HART, a/k/a
“Rick Hart,” the defendants, and others, took steps to conceal
from potential and existing merchant-customers, the fact that
“Commerce Payment Systems,” “Merchant Commerce,” “Empire
Payments,” “Evolution Bankcard,” and “Optimal Bankcard” were
actually all operated by the same management and employees,
operating from the same office. MENDLOWITZ and HART undertook
such concealment in part because certain of the CPS-affiliated
companies suffered, over time, from increasingly negative
reputations on the internet, caused in part by a large number of

consumer complaints about, among other things, undisclosed fees
 

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charge by the CPS-affiliated companies. Such concealment
included:

a. using different corporate logos, different
websites, different mailing labels, and different telephone
lines, with employees answering those lines differently
depending on which company they were purporting to represent;

b. assigning CPS employees multiple email addresses,
in order to make it appear that different corporate names
represented different companies;

om expressly denying to potential and existing
merchant-customers that CPS’s affiliates were related;

da. launching “Evolution Bankcard” under a new name,
to distance it from the negative ratings and reputation of CPS,
and then concealing Evolution Bankcard’s relationship with CPS;
and

e. later launching “Optimal Bankcard,” essentially
to replace “Evolution Bankcard,” which had itself developed many
negative ratings and reviews on the internet, and then
concealing Optimal Bankcard’s relationship with CPS.

18. To further support the fraudulent marketing of CPS and
its various corporate components, MICHAEL MENDLOWITZ, a/k/a
“Moshe Mendlowitz,” and RICHARD D. HART, a/k/a “Rick Hart,” the

defendants, together with others, created and utilized the

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website bestpaymentprocessors.com to advance their fraudulent
scheme in various ways, including the following:

a. After registering the bestpaymentprocessors.com
domain name on or about May 2, 2013, MENDLOWITZ worked with
website designers to make the website appear to be an
independent website that provided comparative information about
different payment card processors, including CPS affiliates.

b. From in or about August 2013 through at least in
or about the fall of 2014, MENDLOWITZ and website designers whom
he hired arranged for Evolution Bankcard -- a CPS corporate
component whose sales force was supervised by HART -- to appear
as the #1 top-rated payment card processor on the website
bestpaymentprocessors.com.

Cc. On or about October 30, 2013, MENDLWOTIZ sent a
series of emails to a website designer contracted by CPS,
instructing the designer to take steps to conceal MENDLOWIT2’s
and CPS’s connection with the website bestpaymentprocessors.com.

da. From in or about late 2014, after MENDLOWITZ and
HART began to market the new CPS corporate affiliate “Optimal
Bankcard,” MENDLOWITZ and HART worked with website designers to
arrange for Optimal Bankcard to replace Evolution Bankcard as
the #1 top-rated payment card processor on

bestpaymentprocessors.com.

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19. In or about December 2014, when MICHAEL MENDLOWITZ,
a/k/a “Moshe Mendlowitz,” and RICHARD D. HART, a/k/a “Rick
Hart,” the defendants, launched Optimal Bankcard, MENDLOWITZ and
HART worked with graphics and website designers contracted by
CPS to create new marketing materials for Optimal Bankcard,
including a new webpage and new marketing brochures, filled with
false information. For example:

a. The Optimal Bankcard marketing materials falsely
stated that Optimal Bankcard had been in business for ten years;
and was “trusted by over 300,000 merchants,” including a variety
of national chains of hotels, restaurants, and stores, anda
university.

b. The Optimal Bankcard marketing materials falsely
stated that Optimal Bankcard charged no “hidden fees,” and that
there was a “SO Annual Fee.” In truth and in fact, Optimal
Bankcard charged a number of annual fees that were concealed
from merchant-customers, including an annual “membership fee.”

c. The Optimal Bankcard marketing materials
contained written “testimonials” from purportedly satisfied
customers who, in truth and in fact, did not exist or were not
customers of CPS or Optimal Bankcard. HART provided some of
these testimonials to a website designer on or about December

15, 2014, and instructed the website designer to find racially

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and ethnically diverse photos on the internet, which could be
used as purported photos of the non-existent merchants.

20. In or about July 2015, MICHAEL MENDLOWITZ, a/k/a
“Moshe Mendlowitz,” the defendant, registered a new website,
toprankedprocessors.com, and began taking steps with a website
designer to use toprankedprocessors.com in the same manner: that
MENDLOWITZ and RICHARD D. HART, a/k/a “Rick Hart,” the
defendant, had previously used bestpaymentprocessors.com.

Misrepresentations by CPS Sales Representatives

 

21. In furtherance of the scheme, MICHAEL MENDLOWITZ,
a/k/a “Moshe Mendlowitz,” and RICHARD D. HART, a/k/a “Rick
Hart,” the defendants, controlled the procedures by which CPS’s
sales personnel interacted with potential merchant-customers,
ensuring, among other things, that they adhered to deceptive
written scripts, and providing such sales representatives with
training, practice sessions, and model examples of recorded
telephone sales calls.

22. MICHAEL MENDLOWITZ, a/k/a “Moshe Mendlowitz,” and
RICHARD D. HART, a/K/a “Rick Hart,” the defendants, directed
CPS's sales representatives to follow specific scripts, which
contained false, fraudulent and misleading statements about the
fees that customers would be charged. Such scripts, as well as

instructions and example telephone calls provided by HART,

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directed sales representatives to make false statements about
such matters as whether additional undisclosed fees would be
imposed, whether certain fees would be waived, whether certain
rates were guaranteed, how customers could access their bills,
and whether additional fees and charges would be withdrawn
directly out of customers’ bank accounts.

23. RICHARD D. HART, a/k/a “Rick Hart,” the defendant, and
CPS sales representatives made numerous misrepresentations to
potential merchant-customers during sales calls. For example,
HART and the CPS sales representatives made numerous false
statements to potential merchant-customers about the fees they
would be charged by CPS, and denying that there were any annual
fees. In truth and in fact, and as HART well knew, merchant-
customers were charged fees that were several times larger than
the fees quoted to them during sales calls, and were charged
various annual fees exceeding $195 per year.

24. After potential merchant-customers submitted signed
Merchant Applications to CPS, CPS sent such potential merchant -
customers emails that falsely stated in part, “Important Note:
Each and every rate that is agreed on this application will be
set in for the lifetime of the account.” In truth and in fact,
MICHAEL MENDLOWITZ, a/k/a “Moshe Mendlowitz,” the defendant,

repeatedly caused various fees collected by CPS to be

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dramatically increased, sometimes by several times the quoted
price.

25. RICHARD D. HART, a/k/a “Rick Hart,” the defendant,
instructed CPS’s sales personnel to use written “cost comparison
calculators,” which were spreadsheets showing potential
customers what their prospective bills would purportedly be with
CPS. HART created and revised the cost comparison calculators,
and provided sales representatives with detailed instruction on
how to use the calculators. HART also instructed sales
representatives to make similar “cost comparisons” orally during
sales calls - and often joined the conversation himself to set
forth detailed fraudulent calculations. In truth and in fact,
HART intentionally designed the written and oral cost
comparisons so that they generally concealed whole catlegories of
hidden fees, such as recurring annual fees, large surcharges,

and other fees and assessments.

 

Concealment of the “Merchant Application”

26. In accordance with procedures implemented by MICHAEL
MENDLOWITZ, a/k/a “Moshe Mendlowitz,” and RICHARD D. HART, a/k/a
“Rick Hart,” the defendants, during or immediately after a CPS
sales representative spoke with a prospective merchant-customer,

the sales representative provided to the prospective merchant -

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customer a Merchant Application, to be initialed, and signed by
the merchant-customer.

27. Although CPS was required by the Parent Company to use
a specific form of the Merchant Application, MICHAEL MENDLOWITZ,
a/k/a “Moshe Mendlowitz,” RICHARD D. HART, a/k/a “Rick Hart,”
the defendants, and others, used and caused to be used an
altered form of the Merchant Application. In particular, until
in or about January 2015 -- when the Parent Company performed an
audit inspection at CPS -- MENDLOWITZ caused three pages of the
Merchant Application to be removed from the version of the
Merchant Application that was provided to CPS’s merchant-
customers. Those three pages contained the “Merchant Processing
Agreement,” which in turn contained detailed “Terms and
Conditions.” The omitted Terms and Conditions related to
material aspects of the merchant-customer’s agreement, and the
terms were often in direct contradiction to the representations
that CPS’s sales representatives made to potential customers
during the sales process. Such omitted terms included that:

a. CPS and the Parent Company reserved the right to

alter fees and charges - a clause that directly contradicted
representations that CPS employees made to potential customers

during the sales process, that fees were “guaranteed for life;”

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b. CPS and the Parent Company would notify the
customer of such changes only through a notice on the customer’s
on-line monthly statement - a statement that many customers did
not know existed;

c. such monthly statements and the accompanying
notices would not be mailed or emailed to the customer, but
would be provided by logging into a website, and would be
accessible to the customer only for three months;

d. that the terms written in the Terms and
Conditions “constitute[d] the entire agreement” among the
parties, and that all prior “representations, written or oral,
made to Merchant are superseded;” and

e. that the customer could be charged an annual
Payment Card Industry (“PCI”) fee. This term directly
contradicted written and verbal assurances made to potential
customers at the direction of MENDLOWITZ and HART that the
customers would not be charged such a PCI fee.

28. In or about January 2015, when the Parent Company
performed an audit inspection of CPS’ s procedures, MICHAEL
MENDLOWITZ, a/k/a “Moshe Mendlowitz,” the defendant, together
with a co-conspirator not named as a defendant herein (“CC-1”),
falsely told the Parent Company auditors that CPS was routinely

sending the Terms and Conditions of the Merchant Processing

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Agreement to new customers, but was sending them in a separate
communication after a merchant-customer's account was approved.
On or about January 16, 2015, in an effort to deceive the Parent
Company auditors, MENDLOWITZ and CC-1 prepared fraudulent emails
- with fictitious addressees and attachments - that were created
to give the false appearance that CPS had sent the Terms and
Conditions of the Merchant Processing Agreement to CPS merchant-
customers.

29. In or about January and February 2015, after the
Parent Company reiterated its requirement that that the Terms
and Conditions of the Merchant Processing Agreement be provided
to potential customers prior to signing, MICHAEL MENDLOWITZ,
a/k/a “Moshe Mendlowitz,” and RICHARD D. HART, a/k/a “Rick
Hart,” the defendants, and others, devised new ways of keeping
those customers from seeing the Terms and Conditions, but making
it appear as if CPS’s clients had reviewed and signed off on the
Terms and Conditions. More specifically, MENDLOWITZ and HART
caused to be created, and used, a computer device that caused
the initials of potential merchant-customers to be copied onto
pages of the Merchant Application that those potential customers

had not in fact initialed.

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Fraudulent Overcharging for Misstated,
Undisclosed and Unauthorized Fees

 

30. After CPS approved a potential customer’s Merchant
Application, CPS employees loaded the customer’s information
into the Parent Company’s computer system, which generated the
charges that would be imposed upon that merchant-customer,
regardless of what was in that customer’s Merchant Application
and regardless of what that customer had been told during sales
calls.

31. MICHAEL MENDLOWITZ, a/k/a “Moshe Mendlowitz,” the
defendant, CC-1, and others, took steps to ensure that the rates
and fees that merchant-customers were to be charged were often
several times higher than the rates and fees that had been
represented to the merchant-customers during the sales process
or set forth in their Merchant Applications. These increased
fees were imposed through a number of different mechanisms,
including:

a. calculating and collecting percentage fees that
were significantly higher than those set forth in the Merchant
Applications and that were contrary to representations made by
CPS sales representatives during the sales process;

b. collecting percentage fees multiple times, which

could only properly be charged once under the terms of the

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Merchant Applications and according to the representations made
by CPS sales representatives during the sales process;

c. over-charging merchant-customers for multiple
per-transaction fees when only one fee could properly be charged
under the terms of the Merchant Applications and according to
the representations that CPS sales representatives made during
the sales process;

d. charging merchant-customers an annual PCI fee of
$99.00, purportedly for protective and insurance services, which
directly contradicted representations made to potential
customers by CPS in the sales and marketing processes that no
such fee would be charged;

e. charging merchant-customers various fees,
including “IRS reporting fees,” annual “membership fees,” and
“inactivity fees,” in contradiction to representations made to
potential customers by CPS in the marketing and sales processes
that no such fees would be charged;

£. charging some merchant-customers for “dues and
assessments” at rates as much as ten times greater than those
reflected in their Merchant Application, and in contradiction to
representations made by CPS in the marketing and sales

processes;

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g. charging some merchant-customers a “network
access fee” that was in some cases ten times the fee reflected
in their Merchant Applications;

h. charging merchant-customers for “surcharges” at
rates far in excess of those reflected in their Merchant
Application, and applying such surcharges to transactions to
which they did not properly apply under the terms of the
Merchant Application, in contradiction to representations by CPS
in the marketing and sales processes; and

i. arbitrarily and periodically increasing these
fees and others, when MENDLOWITZ wished to generate additional
revenue.

Additional’ Concealment of the Fraud

 

32. CPS operated a Customer Service department, which
handled customer questions and complaints about charges and
overcharges, as well as requests for refunds or cancellation of
accounts. MICHAEL MENDLOWITZ, a/k/a “Moshe Mendlowitz,” the
defendant, instructed members of the Customer Service department
to make a variety of false statements to merchant-customers who
complained about charges and overcharges for CPS’s processing

services. Such false statements included:

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a. telling merchant-customers who complained that
the hidden fees were in fact provided for in the customers’
agreements when they were not;

b. misrepresenting to merchant-customers that
certain charges did not originate with CPS but rather with
various third parties; and

Cc. misrepresenting to merchant-customers that the
overcharges imposed upon them were the result of billing errors,
when they were in truth and in fact deliberately imposed.

33. MICHAEL MENDLOWITZ, a/k/a “Moshe Mendlowitz,” the
defendant, instructed CPS employees in CPS’s Customer Service
department that they were required to limit the amount of money
to be paid each month for refunds, subject each month to
MENDLOWITZ’s approval. It was also a common practice of CPS not
to pay refunds to merchant-customers who were cancelling their
accounts.

Concealment of the Fraud Scheme from the Parent Company

34. MICHAEL MENDLOWITZ, a/k/a “Moshe Mendlowitz,” the
defendant, repeatedly made false and misleading statements to
the Parent Company, with the intention of concealing aspects of
the fraud scheme. For example:

a. In or about October 2013, MENDLOWITZ represented

to the Parent Company that CPS would be charging a 2.95%

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surcharge only on certain credit or debit card transactions. In
truth and in fact, however, MENDLOWITZ instructed CPS employees
that for most customers they were to impose the surcharge on all
transactions, thus greatly increasing the surcharges that those
customers were charged.

b. On or about October 31, 2013, after the Parent
Company had instructed MENDLOWITZ to lower an assessment fee
that CPS was charging its customers, MENDLOWITZ instructed a CPS
employee not to lower that assessment fee for CPS’s largest
customers. MENDLOWITZ subsequently represented to the Parent
Company that CPS had lowered the assessment fee for all of its
merchant-customers, when in truth and in fact, CPS had not
reduced the assessment fee for more than 700 of its largest
customers.

STATUTORY ALLEGATIONS

 

35. From at least in or about 2010, through at least in or
about July 2015, in the Southern District of New York and
elsewhere, MICHAEL MENDLOWITZ, a/k/a “Moshe Mendlowitz,” and
RICHARD D. HART, a/k/a “Rick Hart,” the defendants, and others
known and unknown, willfully and knowingly, combined, conspired,
confederated and agreed together and with each other to violate

Title 18, United States Code, Sections 1341 and 1343.

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36. It was a part and an object of the conspiracy that
MICHAEL MENDLOWITZ, a/k/a “Moshe Mendlowitz,” and RICHARD D.,
HART, a/k/a “Rick Hart,” the defendants, and others known and
unknown, knowingly and willfully, having devised and intending
to devise a scheme and artifice to defraud, and for obtaining
money and property by means of false and fraudulent pretenses,
representations, and promises, for the purpose of executing such
scheme and artifice and attempting so to do, would and did place
in a post office and authorized depository for mail matter, a
matter and thing to be sent and delivered by the Postal Service,
and would and did deposit and cause to be deposited a matter and
thing to be sent and delivered by a private and commercial
interstate carrier, and would and did take and receive
therefrom, a matter and thing, and would and did cause to be
delivered by mail and such carrier according to the direction
thereon, and at the place at which it was directed to be
delivered by the person to whom it was addressed, such matter
and thing, in violation of Title 18, United States Code, Section
1341.

37. It was a further part and object of the conspiracy
that MICHAEL MENDLOWITZ, a/k/a “Moshe Mendlowitz,” and RICHARD
D. HART, a/k/a “Rick Hart,” the defendants, and others known and

unknown, knowingly and willfully, having devised and intending

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to devise a scheme and artifice to defraud, and for obtaining
money and property by means of false and fraudulent pretenses,
representations, and promises, would and did transmit and cause
to be transmitted by means of wire, radio, and television
communication in interstate and foreign commerce, writings,
signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, in violation of Title 18,
United States Code, Section 1343.

(Title 18, United States Code, Section 1349.)

COUNT TWO
(Mail Fraud)
The Grand Jury further charges:

38. The allegations set forth in paragraphs 1 through 34
are repeated, realleged, and incorporated by reference as if set
forth fully herein.

39. From at least in or about 2010, through at least in or
about July 2015, in the Southern District of New York and
elsewhere, MICHAEL MENDLOWITZ, a/k/a “Moshe Mendlowitz,” and
RICHARD D. HART, a/k/a “Rick Hart,” the defendants, knowingly
and willfully, having devised and intending to devise a scheme
and artifice to defraud, and for obtaining money and property by
means of false and fraudulent pretenses, representations, and

promises, for the purpose of executing such scheme and artifice

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and attempting so to do, placed in a post office and authorized
depository for mail matter, a matter and thing to be sent and
delivered by the Postal Service, and deposited and caused to be
deposited a matter and thing to be sent and delivered by a
private and commercial interstate carrier, and took and received
therefrom, a matter and thing, and caused to be delivered by
mail and such carrier according to the direction thereon, and at
the place at which it was directed to be delivered by the person
to whom it was addressed, such matter and thing, to wit,
MENDLOWITZ and HART made, and caused to be made, materially
false statements to CPS’s merchant-customers and its Parent
Company about the fees that CPS charged its merchant-customers
for payment card processing services, and in connection
therewith and in furtherance thereof, MENDLOWITZ and HART sent
and received and caused materials to be sent and received using
the United States mail and private and commercial interstate
carriers.

(Title 18, United States Code, Sections 1341 and 2.)

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COUNT THREE

(Wire Fraud)
The Grand Jury further charges:

40. The allegations set forth in paragraphs 1 through 34
are repeated, realleged, and incorporated by reference as if set
forth fully herein.

41. From at least in or about 2010, through at least in or
about July 2015, in the Southern District of New York and
elsewhere, MICHAEL MENDLOWITZ, a/k/a “Moshe Mendlowitz,” and
RICHARD D. HART, a/k/a “Rick Hart,” the defendants, knowingly
and willfully, having devised and intending to devise a scheme
and artifice to defraud, and for obtaining money and property by
means of false and fraudulent pretenses, representations, and
promises, transmitted and caused to be transmitted by means of
wire, radio, and television communication in interstate and
foreign commerce, writings, signs, signals, pictures, and sounds
for the purpose of executing such scheme and artifice, to wit,
MENDLOWITZ and HART made, and caused to be made, materially
false statements to CPS’s merchant-customers and its Parent
Company about the fees that CPS charged its merchant-customers
for payment card processing services, and in connection

therewith and in furtherance thereof, MENDLOWITZ and HART

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transmitted and caused to be transmitted interstate electronic
mail, telephone calls, and wire transfers of funds.
(Title 18, United States Code, Sections 1343 and 2.)

FORFEITURE ALLEGATION

 

42. As a result of committing the offenses charged in
Counts One, Two, and Three of this Indictment, MICHAEL
MENDLOWITZ, a/k/a “Moshe Mendlowitz,” and RICHARD D. HART, a/k/a
“Rick Hart,” the defendants, shall forfeit to the United States,
pursuant to 18 U.S.C. § 981{(a)(1)(C) and 28 U.S.C. § 2461(c),
any and all property, real or personal, that constitutes or is
derived, directly or indirectly, from proceeds traceable to the
commission of the offenses alleged in Counts One, Two, and Three
of this Indictment, including but not limited to a sum of money
in United States currency representing the amount of proceeds
traceable to the commission of said offenses.

Substitute Asset Provision

 

43. If any of the above-described forfeitable property, as
a result of any act or omission of the defendants:
a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited with,

a third person;

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c. has been placed beyond the jurisdiction of the
Court ;

d. has been substantially diminished in value; or

e. has been commingled with other property which
cannot be subdivided without difficulty,
it is the intent of the United States, pursuant to Title 21,
United States Code, Section 853(p), and Title 28, United States
Code, Section 2461(c), to seek forfeiture of any other property
of the defendants up to the value of the above forfeitable
property.

(Title 18, United States Code, Section 981;

Title 21, United States Code, Section 853(p); and
Title 28, United States Code, Section 246, (c).)

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
-” V. ~
MICHAEL MENDLOWITZ, a/k/a “Moshe
Mendlowitz,” and

RICHARD D. HART, a/k/a “Rick Hart,”

Defendants.

 

SEALED INDICTMENT

 

17 Cr.

(18 U.S.C. §§ 1341, 1343, 1349, and 2)

JOON H. KIM
Acting United States Attorney.

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